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             NOT YET SCHEDULED FOR ORAL ARGUMENT
                         Appeal No. 22-7063

                   UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


AMERICAN SOCIETY FOR TESTING AND MATERIALS; NATIONAL FIRE
PROTECTION ASSOCIATION, INC.; AMERICAN SOCIETY OF HEATING,
   REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC.
                                          Plaintiffs-Appellants,
                            V.

                         PUBLIC.RESOURCE.ORG, INC.
                                                            Defendant-Appellee.

    APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF COLUMBIA
           Hon. Tanya S. Chutkan, Case No. 1:13-cv-1215-TSC

 MOTION BY AMERICAN FEDERATION OF STATE, COUNTY AND
 MUNICIPAL EMPLOYEES FOR LEAVE TO FILE BRIEF AS AMICUS
     CURIAE IN SUPPORT OF DEFENDANT-APPELLEE AND
                     AFFIRMANCE

Nina Srejovic                                Teague Paterson
Rebecca Chambers                             Kyle Campbell
Nina.Srejovic@georgetown.edu                 TPaterson@afscme.org
Rkc47@georgetown.edu                         KCampbell@afscme.org
Intellectual Prop. and Info. Policy          American Federation of State, County
Clinic                                       and Municipal Employees
Georgetown Univ. Law Center                  1625 L St. NW.,
500 First St. NW,                            Washington, D.C. 20036
Washington, D.C. 20001                       Phone: (334) 470-6543
Phone: (202) 429-1000

Attorneys for Amicus Curiae American Federation of State, County and Municipal
                                 Employees

                                 December 9, 2022
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       MOTION FOR LEAVE TO FILE AN AMICUS CURIAE BRIEF

      The American Federation of State, County and Municipal Employees (the

“Union”) hereby moves this Court pursuant to Fed. R. App. P. 29(a)(3) and D.C.

Cir. Rule 29(a)(3) for leave to file an amicus curiae brief in the above captioned

matter in support of the Defendant/Appellee and affirmance.

      The Union and its members have an interest in the disposition of this case

because the decision directly affects its members, workers who make up the

backbone of their communities. The Union was founded in 1936 to protect civil

service jobs, fight against political patronage, and ensure fair wages and safe

workplaces.           About         AFSCME:              History,         AFSCME,

https://www.afscme.org/about/history (last visited Nov. 21, 2022). Today, the Union

represents the interests of over one million workers who “provide the vital services

that make America happen, [including] … nurses, corrections officers, child care

providers, emergency medical technicians, and sanitation workers.” Questions &

Answers       About       AFSCME,             3,    12       (2017),      AFSCME,

https://www.afscme.org/about/AFSCME-WMAH-QA-Booklet.pdf.                 The Union

advocates on behalf of its members to ensure their wages, benefits, and position in

the workplace are level with the critical work they perform.

      The Union takes an interest in a wide range of issues that affect their members,

from adequate compensation, to discrimination in the work place, to economic



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security. See, e.g., Amici Curiae Brief of Inter Faculty Organization, Minnesota

Nurses Association of Professional Employees, the American Federation of State,

County and Municipal Employees Council 5, Minnesota State College Faculty, State

Residential School Educational Association, and Middle Management Association,

O’Neill v. Schowalter, Minn. Dist. Ct., (62-CV-20-5865) (2021) (arguing that

overturning the 2.5% raise to all state employees would cause substantial prejudice

to the tens of thousands of employees who have relied on the challenged pay

increases for months); Brief of the American Federation of Labor and Congress of

Industrial Organizations as Amicus Curiae in Support of the Employees, Bostock v.

Clayton County, Georgia, 590 US __ (2020) (No. 17-1618) (arguing that it should

be unlawful for employers to discriminate against any worker with respect to their

sexual orientation); Brief of Amici Curiae Communications Workers of America,

Service Employees International Union, American Federation of Teachers,

American Federation of State, County and Municipal Employees and National

Employment Law Project in Opposition to Defendant’s Motion to Dismiss, Jones v.

U.S. SCRIBE OPCO, INC. d/b/a/ BIC GRAPHIC, M.D. Fla. Tampa Div. (No. 20-

cv-02945-VMC-SPF) (2022) (arguing that the “natural disaster” exception to the

Warn Act’s 60-day notice requirement before a mass layoff does not apply to the

COVID-19 pandemic).




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      The Union has an interest in this case because the Union and its members need

unhindered access for themselves and the public to the incorporated standards posted

by Public.Resource.Org, Inc. in order to competently engage in discussions about

the standards that govern their workplaces and duties, to negotiate with management

for safer workplaces, and to ensure they are performing their duties as required by

law. The posting of the standards by Public.Resource.Org. improves Union

members’ ability to access the standards they need.

      The Union’s brief is desirable in order to inform the Court of the Union’s

members' need for free and unhindered access to the incorporated standards to

empower workers to competently engage in discourse about the laws that govern

their workplaces and duties, to negotiate with management for safer workplaces, and

to ensure they are performing their duties as required by law. The Union’s brief is

relevant because the District Court’s decision that Public.Resource.Org’s posting of

standards constituted fair use rests in part on a finding that the use of the standards

promotes public debate, JA__(Dkt-239-26), and provides information essential to

comprehending one’s legal duties, JA__(Dkt-239-27).

Dated: December 9, 2022             By:/s/ Rebecca Chambers
                                       Rebecca Chambers
                                       Rkc47@georgetown.edu
                                       Nina Srejovic
                                       Nina.Srejovic@georgetown.edu
                                       Intellectual Prop. and Info. Policy Clinic
                                       Georgetown Univ. Law Center
                                       500 First St. NW.,


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                                Washington, D.C. 20001
                                Phone: (202) 429-1000

                                Teague Paterson
                                TPaterson@afscme.org
                                Kyle Campbell
                                KCampbell@afscme.org
                                American Federation of State, County and
                                Municipal Employees
                                1625 L St. NW.,
                                Washington, D.C. 20036
                                Phone: (334) 470-6543




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                         CERTIFICATE OF SERVICE

      The undersigned counsel certifies that on this 9th day of December 2022, she

caused the foregoing “Notice by American Federation of State, County and

Municipal Employees of Intent to File Brief as Amicus Curiae in Support of

Defendant/Appellee” to be electronically filed using the Court’s CM/ECF system,

which served a copy of the document on all counsel of record on the case.

      December 9, 2022                 By: /s/ Rebecca Chambers________
                                           Rebecca Chambers (admitted)
                                           rkc47@georgetown.edu
                                           Intellectual Property and Information
                                           Policy Clinic
                                           Georgetown University Law Center
                                           500 First St. NW,
                                           Washington, DC 20001
                                           Phone: (202) 429-1000

                                      Attorney for Amicus Curiae
                                      American Federation of State,
                                      County and Municipal Employees




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                         ADDENDUM




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  CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

     Pursuant to D.C. Circuit Rule 28(a)(1), Amicus Curiae certifies all parties,

amici, rulings, and related cases appear in the Brief for BRIEF OF APPELLEE

PUBLIC.RESOURCE.ORG, INC.




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                CORPORATE DISCLOSURE STATEMENT

      Pursuant to Fed. R. App. P. 26.1 and D.C. Cir. Rules 26.1 and 28(a)(1)(A),

amicus curiae the American Federation of State, County and Municipal Employees

(the “Union”) submits the following corporate disclosure statement:

      The Union is the nation’s largest and fastest growing public service

employees’ union. It is an unincorporated membership organization. No publicly

held corporation owns 10 percent or more of the Union’s stock.




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